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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
               v.                             :
                                              :
ETHAN NORDEAN                                 :
JOSEPH BIGGS                                  :       Criminal No. 21-CR-0175 (TJK)
ZACHARY REHL                                  :
CHARLES DONOHOE                               :
ENRIQUE TARRIO                                :
DOMINIC PEZZOLA                               :


              MOTION FOR EXTENSION OF TIME WITHIN WHICH TO FILE
               REPORT AND RECOMMENDATION AND INCORPORATED
                     MEMORANDUM OF SUPPORTING POINTS

       Undersigned counsel respectfully moves this Honorable Court for an extension of time, up to

and including September 2, 2022, within which to file the Report and Recommendation. There are three

reasons an extension is necessary, i.e., difficulty interviewing one of the two co-defendants at issue,

issues with undersigned counsel’s ability to reference one co-defendant’s testimony in a relevant

proceeding before a different forum, and undersigned counsel’s contraction of Covid and a host of

resulting symptoms that have severely adversely affected her ability to continue working on the draft of

the report and recommendation she already has started. A separate reason, i.e., her many deadlines in

July and August 2022, forms the basis for undersigned counsel requesting September 2, 2022, as the new

due date.

       As grounds for this motion, undersigned counsel states:

       1.      Through a Minute Order on March 25, 2022, this Court appointed undersigned counsel

to prepare a Report and Recommendation regarding whether John Daniel Hull's representation of

Joseph R. Biggs in the above-captioned case and of Enrique Tarrio in other matters creates any

conflict of interest and, if so, whether Messrs. Biggs and Tarrio can waive any conflict(s) that may
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exist.

         2.      On April 13, 2022, the Court entered a Minute Order accepting undersigned counsel’s

proposed deadline of June 30, 2022, (Doc. No. 332) for filing that Report and Recommendation.

         3.      Although undersigned counsel has conducted a number of interviews of relevant parties,

reviewed several documents, researched the applicable law, and started drafting the Report and

Recommendation, three impediments to her meeting the June 30 deadline have arisen:

                 a) Difficulty in being able to interview one of the two co-defendants at issue;

                 b) Issues regarding undersigned counsel’s ability to reference in her Report and
                 Recommendation the testimony of one of the co-defendants in a different forum but on
                 issues relevant to the conflict issue with she has been tasked; and

                 c) Undersigned counsel’s recent incapacitation due to contracting Covid.

         4.      Given that the trial date in the above-captioned matter has now been continued to

December 12, 2022, and based upon undersigned counsel’s numerous deadlines in other matters during

July and August, 2022, undersigned counsel respectfully requests an extension of the due date for her

Report and Recommendation to September 2, 2022, in the hope that by then the various issues that have

been impediments to her meeting the June 30 deadline will have been resolved.

         WHEREFORE for all the foregoing reasons, and any others this Court may deem just and

proper, undersigned counsel, respectfully requests that this Motion be granted and that she be permitted

to file her Report and Recommendation on or before September 2, 2022.



Dated: June 22, 2022                            Respectfully submitted,

                                                s/Santha Sonenberg
                                                ___________________________________
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                             UNITED STATES DISTRICT COURT
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UNITED STATES OF AMERICA                   :
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               v.                          :
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CHARLES DONOHOE                            :
ENRIQUE TARRIO                             :
DOMINIC PEZZOLA                            :



                                           ORDER

       This matter having come before the Court on Motion For Extension of Time Within Which To

File Report an Recommendation and the Incorporated Memorandum of Supporting Points, and good

cause having been shown, it is this    day of June, 2022, HEREBY ORDERED that the Motion is

granted and Ms. Sonenberg may have an extension of time, up to and including September 2, 2022,

within which to file her Report and Recommendation.




                                                      Timothy J. Kelly
                                                      United States District Court Judge




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